  Case 19-42563      Doc 3    Filed 08/22/19   Entered 08/22/19 23:13:49      Desc Main
                                 Document      Page 1 of 1
                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


 In re:                                                            Case No. 19-42563

 IMPORT SPECIALTIES INCORPORATED
 D/B/A HEARTLAND AMERICA                                    Chapter 11 Case

                   Debtor



              NOTICE OF INTENTION TO SEEK EXPEDITED HEARINGS


       The debtor in the above-listed Chapter 11 case gives notice that it intends to seek
an expedited hearing on the following matter:

    NOTICE OF HEARING AND MOTION FOR EXPEDITED RELIEF AND FOR AN
   ORDER AUTHORIZING USE OF CASH COLLATERAL ON A PRELIMINARY AND
                            FINAL BASIS


      NOTICE OF HEARING AND MOTION FOR AN EXPEDITED HEARING AND
FOR AN ORDER AUTHORIZING THE DEBTOR TO PAY PRE-PETITION WAGES AND
                          PAYROLL TAXES


       NOTICE OF HEARING AND MOTION FOR AN EXPEDITED HEARING AND
    FOR AN ORDER AUTHORIZING DEBTOR IN POSSESSION (DIP) FINANCING




 Dated: August 22, 2019                        /e/ John D. Lamey III
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